Case 4:18-cv-03289 Document 9-8 Filed in TXSD on 11/12/18 Page 1 of 2




           Exhibit H
    Case 4:18-cv-03289 Document 9-8 Filed in TXSD on 11/12/18 Page 2 of 2


From:           McLeod, Michelle - HFD
To:             Pena, Samuel - HFD; Mann, Richard - HFD
Subject:        419 Emancipation Ave_ ILMS documents
Date:           Tuesday, June 19, 2018 4:38:18 PM
Attachments:    419 Emancipation Ave_ILMS documents.pdf
                ATPFile_CE6EEE48-3663-4393-AEBB-9A55F7C1723F.token


FYI: Pdf page 3 of the attached document has a summary of the most recent activity. Vicki placed a
hard hold in the system to sell no permits until further advised.
